EXHIBIT “1”
Case 1:20-cv-0991T-SLC  DaCuinnenr 5%

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
BANK OF AMERICA, N.A.,

Case Number: No. 20-CV-9911-SLC
Plaintiff,
v.

CITY VIEW BLINDS OF N.Y. INC., a
New York corporation, COSMOPOLITAN
INTERIOR NY CORPORATION, a New
York corporation, JUM DECORATING
NYC INC,, a New York Corporation,
COSMOPOLITAN INTERIOR
FLORIDA CORP., a Florida Corporation,
and MOSHE GOLD, an individual,

AMENDED JUDGMENT

Defendants,

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Upon this action having been commenced by the plaintiff Bank of America, N.A. (the
“Plaintiff’) on November 24, 2020, by the filing of a Verified Complaint (the “Verified
Complaint’), and the defendants City View Blinds of N.Y. Inc., Cosmopolitan Interior NY
Corporation, JLM Decorating NYC Inc., Cosmopolitan Interior Florida Corp. and Moshe Gold
(collectively the “Defendants”), and an Answer having been filed on behalf of the Defendants on
January 26, 2021; the parties having consented on February 25, 2021 to Magistrate Jurisdiction
for all purposes; the Plaintiff having moved pursuant to a Motion for Summary Judgment (the
“Motion”) against all of the Defendants on April 30, 2021; the Plaintiffs request on May 20,
2021 to have the Motion considered fully briefed based on the Defendants’ failure to respond to
or oppose the Motion, and fhe Defendants’ opposition letter filed on May 25, 2021; and

Upon which the Court entered an Opinion and Order dated February 25, 2022 (the

“February 25, 2022 Order”) pursuant to which the Motion was granted with respect to the

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Plaintiff's First, Second, Sixth and Seventh Claims and the Motion was denied with respect to
the Plaintiff's Third, Fourth, Fifth and Eighth Claims; and
Upon which the Court entered a Judgment in favor of the Plaintiff and against the
Defendants on April 29, 2022 (the “Judgment”) [ECF, Doc. 54]; and
Upon which the Judgment contained an omission as to all of the parties with respect to
the relief granted in the February 25, 2022 Order on the Second Claim of the Verified
Complaint; and
To correct said omission, pursuant to Rule 60(a) of the Federal Rules of Civil Procedure
the Judgment is amended; and it is hereby
ORDERED, ADJUDGED AND DECREED that the Plaintiff have judgment against
the Defendants as follows:
a. Judgment be and hereby is entered in favor of the Plaintiff Bank of America, N.A.
and against City View Blinds of N.Y. Inc. and Cosmopolitan Interior NY
Corporation (collectively, the “Berrewers”) on the First Claim of the Verified
Complaint, as of March 22, 2022, in the total amount of $5,945,899.78 consisting
of (i) unpaid principal in the amount of $4,842,632.62, (ii) contractual accrued
interest in the amount of $277,046.34 (with interest continuing to accrue at a
combined per diem amount of $538.07 through April 29, 2022), (iii) default
accrued interest in the amount of $641,001.72 (with interest continuing to accrue
at a combined per diem amount of $807.11 through April 29, 2022), Civ) the
Plaintiff's out of pocket costs and expenses in the amount of $29,259.61, and (v)
attorneys’ fees in the amount of $141,857.23 plus costs in the amount of

$14,102.26; plus post-judgment interest at the lawful rate on the total amount of

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$5,945,899.78 due to the Plaintiff, until the same is paid and satisfied; and
Judgment be and hereby is entered in favor of the Plaintiff Bank of America, N.A.
and against City View Blinds of N.Y. Inc., Cosmopolitan Interior NY
Corporation, JLM Decorating NYC Inc. and Cosmopolitan Interior Florida Corp.
on the Second Claim of the Verified Complaint, as of March 22, 2022, granting
the Plaintiff foreclosure upon its security interest in the Collateral (as defined in
the Verified Complaint), awarding the Plaintiff immediate possession of the
Collateral, and to the extent that any of the Collateral is not presently in
possession or control of the Borrowers, JLM Decorating NYC Inc., and
Cosmopolitan Interior Florida Corp. directing Borrowers, JLM Decorating NYC
Inc. and Cosmopolitan Interior Florida Corp. to immediately inform the Plaintiff
of the present location of the Collateral and to take all necessary measures to
facilitate the turnover of the Collateral to the Plaintiff; and permitting the Plaintiff
to dispose of the Collateral and apply proceeds thereof to the obligations and
liabilities of the Borrowers in accordance with Article 9 of the Uniform
Commercial Code; and

Judgment be and hereby is entered in favor of the Plaintiff Bank of America, N.A.
and against Defendants JLM Decorating NYC Inc., Cosmopolitan Interior Florida
Corp. and Moshe Gold on the Sixth Claim of the Verified Complaint, as of March
22, 2022, in the total amount of $5,945,899.78 consisting of (i) unpaid principal in
the amount of $4,842,632.62, (ii) contractual accrued interest in the amount of
$277,046.34 (with interest continuing to accrue at a combined per diem amount of

$538.07 through April 29, 2022), (iii) default accrued interest in the amount of

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$641,001.72 (with interest continuing to accrue at a combined per diem amount of
$807.11 through April 29, 2022), (iv) the Plaintiffs out of pocket costs and
expenses in the amount of $29,259.61, and (v) attorneys’ fees in the amount of
$141,857.23 plus costs in the amount of $14,102.26; plus post-judgment interest
at the lawful rate on the total amount of $5,945,899.78 due to the Plaintiff, until

the same is paid and satisfied; and

_. Judgment be and hereby is entered in favor of the Plaintiff Bank of America, N.A.

and against Defendant City View Blinds of N.Y. Inc. on the Seventh Claim of the
Verified Complaint, as of March 22, 2022, in the total amount of $66,101.09, plus
post-judgment interest at the lawful rate due to the Plaintiff, until the same is paid

and satisfied.

Dated: |New York, New York [SO ORDERED. |

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June 13, 2022
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Sayah L. Cave
United States Magistrate Judge

